       Case 2:16-cv-01183-TC-DBP Document 195 Filed 10/22/18 Page 1 of 10




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Attorneys for Plaintiffs

                           IN THE UNITED STATES DISTRICT COURT

                           DISTRICT OF UTAH, CENTRAL DIVISION

J THOMPSON, et al., Individually and on      )   No. 2:16-cv-01183
Behalf of All Others Similarly Situated,     )
                                             )   CLASS ACTION
                               Plaintiffs,   )
                                             )   Honorable Judge Tena Campbell
        vs.                                  )
                                             )   Honorable Magistrate Judge Dustin B. Pead
                                             )
1-800 CONTACTS, INC., et al.,                )   PLAINTIFFS’ DUCIVR 37-1 SHORT
                                             )   FORM DISCOVERY MOTION TO
                               Defendants.   )   COMPEL RE-PRODUCTION OF
                                             )   LENSDISCOUNTERS.COM’S FTC
                                                 MATERIALS IN THE POSSESSION OF
                                                 1-800 CONTACTS




1491679_1
       Case 2:16-cv-01183-TC-DBP Document 195 Filed 10/22/18 Page 2 of 10




        Of the 20 non-parties, including at least 12 non-party online contact lens retailers, who

produced documents in the FTC action, only 1 has filed an objection to the production of the very

same information here. LensDiscounters.com objects solely on the basis that the request seeks

sensitive business information even though that information would be protected under the Protective

Order (“Order”) in this case and even though LensDiscounters has already produced that information

to counsel for its largest competitor in the FTC action. ECF 180, 188.

        “Confidentiality concerns . . . are . . . not a basis to withhold information appropriate for

discovery.” Sherwin-Williams Co. v. SUSE LLC, No. 2:15-cv-00129, 2016 U.S. Dist. LEXIS 80264,

at *6 (D. Utah Mar. 22, 2016). Maintaining the confidentiality of sensitive business information is

“precisely the purpose and function of a Protective Order.” Feature Films Servs., Inc., No. 91 C

459, 1992 U.S. Dist. LEXIS 270, at *3 (N.D. Ill. Jan. 13, 1992).

        The Order in this case addresses LensDiscounters’ concerns. It allows a non-party to

designate documents as either “CONFIDENTIAL” or “ATTORNEYS-EYES ONLY,” and restricts

disclosure accordingly. ECF 180. It is as at least as restrictive as the protective order in the FTC

action. Compare ECF 180 with ECF 188, Ex. B.

        LensDiscounters frets that its information, which it generically describes as “trade secrets”

and “secret technical processes,” will be disclosed to “Thompson class members or their attorneys.”

ECF 188 at 3. But the Order does not permit disclosure to class members. ECF 180 at 7-9 (list of

qualified recipients, which does not include class members). And documents designated as

attorneys-eyes only cannot even be disclosed to in-house counsel for LensDiscounters’ competitors.

Id. at 7-8. None of the outside counsel in this action are in the contact lens business. Given the strict

terms of the governing Order, it is unclear how production of the requested information would create



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1491679_1
       Case 2:16-cv-01183-TC-DBP Document 195 Filed 10/22/18 Page 3 of 10




an “unreasonable risk of injury” or “loss of a critical business advantage,” as LensDiscounters

claims. ECF 188 at 2, 4; Gulf Oil Co. v. Bernard, 452 U.S. 89, 102 n.16 (1981) (stereotyped and

conclusory statements are insufficient to satisfy an objector’s burden).

        Courts have repeatedly recognized that protective orders such as the one entered here provide

the necessary safeguards. digEcor, Inc. v. e.Digital Corp., No. 2:06 cv 437 TS, 2008 U.S. Dist.

LEXIS 69931, at *12 (D. Utah Sept. 16, 2008) (order restricting the disclosure of confidential

information to attorneys who are not competitive decision-makers provides an appropriate

safeguard).

        LensDiscounters’ solitary objection has prevented plaintiffs from receiving any of the

materials from the FTC action referencing confidential non-party information, which is a large swath

of highly relevant information, because 1-800 Contacts is withholding all such material until all non-

party objections are resolved. Accordingly, LensDiscounters’ objection is needlessly delaying

plaintiffs’ prosecution of this action.

        Protective orders are routinely used in courts throughout the country to safeguard the same

type of information sought here. There is nothing unique about this case. LensDiscounters’

objection should be overruled.

DATED: October 22, 2018                      Respectfully submitted,

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                                              & DOWD LLP
                                             DAVID W. MITCHELL (Admitted Pro Hac Vice)
                                             BRIAN O. O’MARA
                                             STEVEN M. JODLOWSKI (Admitted Pro Hac Vice)


                                                            s/ Steven M. Jodlowski
                                                          STEVEN M. JODLOWSKI



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1491679_1
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1491679_1
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                                   CERTIFICATE OF SERVICE
        I hereby certify under penalty of perjury that on October 22, 2018, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and I

hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

non-CM/ECF participants indicated on the attached Manual Notice List.

                                                    s/ Steven M. Jodlowski
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      \[P`PWahPZXbYWjZhbWc]SbkTYlSWWYaUOPT]OPTjZhbWc]SbkVWRSjhPZXbYWP\oc]Sb
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      lhjbYZiOYbTYURVZbc]SbkiVbjlSZWhV\OSpTYUc]Sb
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      i]OSTPZYj]S`c]Sb
      v2w835ÿmIÿ6,*3fÿ
      Z]TYZijpYZZhZSUWc]Sbk]YTPWlYZjpYZZhZSUWc]SbkYRS^[sjpYZZhZSUWc]Sb
      du75+-ÿqIÿ62G8-ÿ
      g]SOPWjU\XZc]Sb
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      Z]SZpjU\XZc]SbkYXPZV[YWSjU\XZc]Sb
      d833eÿvIÿD8m+x83*52ÿ
      glP\VlPZY[SjlVTUSZ[OTYUc]Sbk`b]iPYXPjlVTUSZ[OTYUc]Sb
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        4H<:I;845JJK?@A>
        LGMNÿDEÿFCNOPGM3ÿ
        @HAJQ5<=8;845JJK?@A>RS=9:<9;845JJK?@A>R>@<JT6:;845JJK?@A>R7H=99:;845JJK?@A>
        U1B-GMOÿVEÿFCNCW3ÿ
        =HAJA>8;HAJA>87A:6S?@A>R9><JJAX;HAJA>87A:6S?YZ>
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        SH=^:59JQ;HAJA>87A:6S?@A>R9><JJAX;HAJA>87A:6S?YZ>
        UC3+M*ÿ_Eÿ`GMM1.a*C.ÿ
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        87<I@7;7cQJ<f?@A>R8=9:I7<I@7;H><6J?@A>R<Q>6:64I=<IA=;7cQJ<f?@A>
        V1g+ÿ`C]B-1.ÿ
        >6S9;@A:4^>9=4<QTA@<I94?@A>
        )*+h+.ÿVEÿ\CONCi2g1ÿ
        4cAQJAf4S6;=H=QJ<f?@A>R<S9JJX;=H=QJ<f?@A>R9j56J9j4Q;=H=QJ<f?@A>
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        KcA7:4A:;@A7:9S6:H7A=:?@A>RcQ<::9:>^9JJ9=;@A7:9S6:H7A=:?@A>R>46:9;@A7:9S6:H7A=:?@A>
        k-+COCM+ÿDEÿ[G.+NNÿ
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        <47J9X?S<KJ<:;>IA?@A>
        k-CWG2ÿUÿ[GMM+.3+Maÿ
        IS<==9:89=H;<SJ<f56=>?@A>R=QAQH9;<SJ<f56=>?@A>
        \G2C.ÿVEÿ[+MMÿ
        c<4A:S9==;KKSI=6<J?@A>RcA7:4:Af;KKSI=6<J?@A>R9J6o<89I7?K79JK4p
        =A886:4;KKSI=6<J?@A>R4I9T9:?H<=55;KKSI=6<J?@A>R<:H9J<cA7:4A:;KKSI=6<J?@A>
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        M3*1B+ÿE1,,3*ÿ
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        T1UA+ÿ@DÿEAVWG-BBÿ
        R4=KR?;8O8R54:><9?L<H9XH9;8O8R54:><9?
        Y1ZBÿ[DÿE3\B-]ÿ
        X?9^57_;<9IN7HKNOI98N><9?L?PKN7;<9IN7HKNOI98N><9?L?<78QSSK;<9IN7HKNOI98N><9?
        `1,1ÿEDÿaA-Bb3*ÿ
        PNK75P9N;X488c89:N><9?L4<94SP;X488c89:N><9?L<457NR48;X488c89:N><9?
        dGZBÿY1Fÿ
        <X4H;:PO8><9?L4O78KS4N9;:PO8><9?
        M-e-WW1ÿ)DÿY-V-,b3*ÿ
        84X7S78P9N;59<H54:><9?LcOK557P;59<H54:><9?
        fZbVA*ÿYDÿM1gG1-Bÿ
        hQPSKN>84XI475;?S9><9?L?48H>89c78SP;?S9><9?
        )C1*+1ÿEWEZ,,1]ÿM3-ÿ
        4?897;=98_P><9?
        i-**-VGÿfDÿMZeA*ÿ
        Hh8QcKN;=98_P><9?
        f1,-+ÿTDÿ`W3VVÿ
        hP<9SS;4H54:JK8?><9?LH8QcKN9;4H54:JK8?><9?
        M3e-,VÿiDÿ`G-BjZAbVÿ
        8HPI75kQKPS;59<H54:><9?LHh5789_;59<H54:><9?LcOK557P;59<H54:><9?
        M]1*ÿ)Dÿ`G3,-bÿ
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        =<E:=;J>?BC==I9JD?;IC9EC@>F:E
        PO3.,O4ÿQNÿ56ORR+6ÿ
        ;?@IHH:@DCSBCTU<9E>F:EGS9VW<@:DCSBCTU<9E>F:E
        X3Y-RÿMNÿ5.36+Z,ÿ
        H?=C@:F;DA:B:EW;:@<S>F:EGIECBB:JDA:B:EW;:@<S>F:E
        5321O8ÿ[Nÿ5.43-7,.ÿ
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        B?TI@?I@D;aHBCT>F:EGCHE<@<?=9C=:9D;aHBCT>F:E
        M+`,13ÿXNÿb+8`+6ÿ
        aT:B?:@DH<BT:9=;BCT>F:EGaCWIHDH<BT:9=;BCT>F:E
        QO8-``3ÿcO8RO4ÿd3ee383ÿ
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BCH:@@ClT;IBF;IBD9WE@>F:EG<@U:DWI9AEC@I?\>F:EGHWDEC9S;CEBCTU<9E>F:EGS<EDH:9@W<?;:gBCT>F:EGÿ
C@W9:fDk:9J?>F:EGSF;:BI9CDF:k>F:EG9FBC9SDgC99W9:T@>F:EGFCBI@HC9DgC99W9:T@>F:EGÿ
CU:V=fDgC99W9:T@>F:EGaF:;I@DT?A9>F:EG9F:9gDT?A9>F:EGaHI?<HI9C=:DH<BT:9=;BCT>F:EG
kEFSICAIDH<BT:9=;BCT>F:EG=JBI9lHIkI9D9WE@>F:EGaIDEC9S;CEBCTU<9E>F:EG?U<?;WI<@D?ÿ;IC9EC@>F:EGÿ
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F7.7;+:);72;F19+7456782;.7;+:);72;F19+745678;;.7;+:);72;F19+745678+6-47;++6-.*7;9245678ÿ
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;7+6,.E6+<045678:D+?/9-.E6+<045678D056BB.;:2;F19+745678:+?/9-6.;:2;F19+745678ÿ
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KL66ÿ7;-<ÿ,7;92ÿ;@@+,00,0ÿB6ÿ5+,;B,ÿ;ÿM7;92B6Mÿ29-:ÿIÿ76+,ÿB);-ÿNOPPÿ5);+;5B,+04Q




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